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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA

Y. : 23-cr-36-JRT

KASSIUS ORLANDO BENSON

DEFENDANT’S EXHIBITS TO RESPONSE TO GOVERNMENT’S SENTENCING
POSITION

Exhibit A: PayPal Loan Documentation

Exhibit B: Government’s Exhibit B Sentencing Table — Complete
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Benson Response — Exhibit A
4/22/24, 10:04 AM

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Law Offices of Kassius O. Benson, P.A.

6

Loans completed

23% j

LOAN

Loan Details

$42,783.18

Outstanding balance

$12,969.82
Paid to date

PayPal Working Capital

$108,500.00

Total borrowed

C Make a Payment

)

$47,000
Initial loan amount

$8,753
Loan fee

04 Download contract

How are we doing?

Your feedback is always appreciated.

Take our satisfaction survey

htips:/Avww. paypal.com/workingcapital/dashboard

ea

Wa
CASE 0:23-cr-00036-JRT-JFD Doc. 61-1 Filed 05/01/24 Page 4 of 7
4/22/24, 10:04 AM PayPal Working Capital

Have Questions?

Call us and we'll be happy to help.
(877) 981-2163

9:00AM to 8:00PM Eastern Time
Monday - Friday

Daily Activity 90-Day Summary @

Previous 90-day periods

A The minimum due was not met in one or more previous 90-day periods. An outside

collections agency may contact your business for payments.

Apr 90-day period -$0.00 ve
07 Jan 9, 2024 — Apr 7, 2024 Total paid
Jan 90-day period -$0,00
038 Oct 11, 2023 — Jan 8, 2024 Total paid
Oct 90-day period -$0.00 ag
10 jul 13, 2023 — Oct 10, 2023 Total paid
Jul 90-day period -$0.00 eg
12 Apr 14, 2023 — Jul 12, 2023 Total paid
Apr 90-day period -$0.00 <“
13 Jan 14, 2023 — Apr 13, 2023 Total paid

https:/Awww.paypal.com/workingcapitaldashboard

23
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Benson Response — Exhibit B
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Government’s Exhibit B Table —- Complete

Case Docket Sentencing | Tax Loss? Offense | USSG Sentence
Name No. Date Level
Annette 21-cr- 3/23/2022 $408,193 15 18-24 3 years’ probation
Jones 181-SRN months
Shimon 20-cr- 3/11/2022 $620,362 17 24-30 Year and a day, 1 year of
Shaked 186-JRT months | supervised release
Gary 19-cr- 2/20/2020 $158,958 13 12-18 3 years’ probation
Hedin 252-PJS months
Nhia Vue | 18-cr- 11/28/2018 | $1,820,331 | 21 37-46 38 months

106- months

WMW
Joseph 17-cr- 4/2/2018 $159,157 17 37-46 30 months
McGlynn | 197-ADM (CH IV) | months?
David 15-cr- 9/16/2016 $166,569 UNK UNK 3 years’ probation
Ahern 248-02-

DWE

15-cr- 41-51 24 months
Kelly 248-01- | 9/20/2016 | $624,417} 22 months
Jaedike DWF
Erick 15-cr-74- | 12/12/2015 | $89,460 12 10-16 3 years’ probation
Okeson DWF months
Thurlee 14-cr- 2/8/2018 $8,944,036 | 32 151-180 | 96 months
Belfrey 373-01- (CH Ul) months

ADM

13-cr-
Roylee 373-02- 2/8/2018 $4,592,593 | 25 57-71 60 months
Belfrey ADM months

13-cr-

373-03-
Lanore ADM 2/8/2018 $402,158 18 27-33 15 months
Belfrey months
Michelle 14-cr- 1/8/2016 $204,226 15 18-24 3 years’ probation
Uden 325-JNE months
Barry 14-cr- 9/26/2014 $159,857 13 12-18 3 years’ probation
Voss 103-RHK months
Marlin 13-cr- 4/25/2014 $105,852 16 21-27 12 months and a day
Dahl 139-PAM months
Daniel 13-cr-73- | 4/22/2015 $451,724 22 41-51 41 months
Musa JRT manths

| The tax loss, offense level, and guideline are taken from publicly accessible information on ECF.
* In the plea agreement, the parties had estimated that the defendant was in Category II, which had

a guidelines range of 30-37 months.

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Government’s Exhibit B Table — Complete

Mohamed } 12-cr-98- | 4/4/2013 $77,212 15 18-24 Time served (approx. 8 months,
Abdi JRT months | with 2 years’ supervised release
Doris Ruiz | 11-cr- 7/20/2012 $276,897 15 24-30 year and a day, followed by 3
319-DWEF (CH III) months | years’ supervised release
Debra 09-cr- 9/8/2010 $539,261 17 24-30 12 months and a day
Quigley 369-ADM months
Mark 09-cr-331 | 3/15/2010 $365,912 17 24-30 24 months
Fitzgerald months
Timothy 09-cr- 11/11/2010 | $2,317,505 | 26 70-87 87 months
Beliveau | 304-MMJD (CH II)
Francis O8-cr-10- | 11/1/2011 $826,795 22 41-51 55 months
McLain PJS months
Dana Orr | 06-cr- 11/26/2008 | UNK 10 6-12 60 days
249-04- months
PIS
Shawn 11/26/2008 | UNK 10
Orr 06-cr- {CH Il) 8-14 4 months
249-03- months
PJS
Scott 05-cr- 7/17/2006 no less UNK 51-63 33 months
Goldsmith | 206-PJM than months
$450,000
and
potential
greater
than
$550,000
Chad O5-cr-09- | 12/27/2006 | Total tossis | UNK ~ 78-97 | 72 months
Wetzel DWF greater months
than
$800,000

